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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-20865-CR-RUIZ (s)(s)

  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  NADER MOHAMAD FARHAT, et al.,

                       Defendant.
  ________________________________:

                JOINT STATUS REPORT ON DISCOVERY ISSUES

        The defendant, Nader Mohammed Farhat, through counsel, and the

  government hereby reports to the Court the status of discovery, and in support

  thereof, the parties would state:

                                         Background

        1.     Mr. Farhat is charged by a second superseding indictment with two

  separate money laundering conspiracies, in violation of 18 U.S.C. §§ 1956(a)(3)((B);

  1956(a)(2)(A); 1956(h) and 18 U.S.C. § 1960. Additionally, Mr. Farhat is charged with

  six substantive counts of money laundering, in violation of 1956(a)(3)(B).

        2.      In essence, counts 1 through 7 allegedly involve a money-laundering

  sting wherein a confidential source represented that the proceeds were from the

  distribution of a controlled substance. This indictment alleges that this conspiracy

  began around March 14, 2014 and continued until May 2017.




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        3.     The money–laundering conspiracy alleged in count 8, involves the

  international promotion of and proceeds from conducting an unlicensed money

  transmitter business, in violation of 18 U.S.C. § 1960. The indictment alleges that

  this conspiracy began around January 2013, and continued until May 17, 2018.

        4.     Thus far, in response to the Standing Discovery Order, the government

  has provided the following items or material.

               A.     Initial Discovery Response consisting of 32 gigabytes of material,

        including 2,876 recorded telephone conversations obtained via a Paraguayan

        Judicial Order authorizing the wiretapping of Mr. Farhat’s telephone. The

        government’s Initial Discovery Response, among other items, also included

        Reports of Investigation, audio calls, transcripts of meetings between Farhat

        and a confidential source, and WhatsApp communications between Farhat and

        his co-conspirators. (DE 20)

               B.    An external hard drive that contains a copy of a server seized from

        Mr. Farhat’s residence in Paraguay. The hard drive contains 1.41 terabytes.

        Given the size and complexity of the server, there is no forensic report to assist

        with the search of the server. The defense has hired a forensic computer expert

        to do a preliminary examination of the external hard drive. The defense expert

        estimated that it would cost in excess of $62,000 to review and analyze all the

        material on the external hard drive containing the copy of the seized server.

        (DE 22)




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             C.     On November 21, 2019, the government filed a second

       superseding indictment naming Diya Salame and Houssam Hachem as co-

       defendants (DE 29).     On December 12, 2019, the government provided

       additional discovery which included, Bates Stamp numbers 743-7827 (7,084

       pages), consisting of new translations of WhatsApp messages and discovery

       pertaining to co-defendants Salame and Hachem.        The discovery material

       pertaining to co-defendants Salame and Hachem includes the contents of their

       phones, bank statements, law enforcement reports, and recorded law

       enforcement interviews with Salame.

             D.     At a discovery conference on January 22, 2020, the government

       provided charts that purportedly shows how the money-laundering scheme

       was organized. The government advises that the charts were found on the

       server. At the request of the defense, the government has tasked a DEA

       analyst to determine the file names, file locations, and other identifying

       information for the aforementioned charts. However, as of the time of this

       filing, the government has not advised the defense where the charts are located

       on the server.   Additionally, the government provided a disc containing

       recordings of 372 phone calls that Mr. Farhat made while in custody at the

       Federal Detention Center.

             E.     On March 2, 2020, the government provided additional discovery

       pertaining to Houssam Hachem, including the contents of his phone and other

       documents found at his house. Additionally, at the defense’s request, the



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        government produced PDFs of Farhat’s emails that were previously produced

        in a different electronic format, which the defense was not able to fully view.

                                   Joint Agreement

        The defense and the government agree to the following:

        a.     The government does not intend to introduce at trial, recordings of any

  of the phone conversations obtained by way of Paraguayan Judicial Wiretap. The

  government does intend to introduce audio recordings and transcripts of the alleged

  transactions between defendant Farhat and the confidential source relating to counts

  1 through 7. These recording are separate and apart from the recordings obtain via

  the Paraguayan Judicial wiretap.

        b.      The government will attempt to obtain the supporting affidavits, the

  order, and related documents pertaining to the wiretapping of Mr. Farhat’s phone by

  Paraguayan law enforcement.

        c.      The government will extract e-mails from the server seized from Mr.

  Farhat and aims to make them available to the defense by the first week of April

  2020. The government will also provide the location of the e-mails within the server.

  The government will also advise the defense where the chart purporting to show how

  the money-laundering scheme was organized was located within the server.

        d.     The government agrees that evidence of the conspiracy alleged in count

  1 will be limited to evidence of the substantive offenses alleged in counts 2 through 7

  of the indictment, as well as inextricably intertwined evidence from a March 2018

  money drop in New York (located in Bates 1-29).



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        e.     At the request of the defense and in lieu of a response to a defense motion

  for statement of particulars, the government will aim to provide to the defense by the

  first week of April 2020, the identities of any co-conspirators not already named in

  the indictment; and a list of money laundering transactions pertaining to Count 8. To

  the extent possible, the government will attempt to identify for the defense specific

  communications associated with the transactions. Given the time-intensive nature of

  such a request, the government may need longer than the first week of April to

  identify all such communications.

        f.      The government shall disclose to the defendant the existence and

  substance of any payments, promises of immunity, leniency, preferential treatment,

  or other inducements made to the confidential source by the first week of April 2020.

        g.     The government will provide the defense with a record of prior

  convictions for witnesses identified thus far that will testify for the government by

  the first week of April 2020. However, the government reserves the right to add

  additional witnesses and will supplement its discovery of cooperating witnesses as

  they become available. Moreover, the government has advised the defense that

  additional Farhat co-conspirators may be added to an additional superseding

  indictment before trial.




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         Therefore, witnesses that currently do not have convictions may have a

  conviction before Farhat’s trial

   Respectfully submitted,                  Respectfully submitted,

   MICHAEL CARUSO                           ARIANA FAJARDO ORSHAN
   FEDERAL PUBLIC DEFENDER                  UNITED STATES ATTORNEY

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                            CERTIFICATE OF SERVICE

        I HEREBY certify that on March 4, 2020, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices

  of Electronic Filing generated by CM/ECF or in some other authorized manner for

  those counsel or parties who are not authorized to receive electronically Notice of

  Electronic Filing.


                                         By: s/Daryl E. Wilcox
                                               Daryl E. Wilcox




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